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   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY

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      In Re:                                                        Chapter 11

      LTL MANAGEMENT, LLC,1                                         Case No.: 23-12825 (MBK)

                                 Debtor.                            Honorable Michael B. Kaplan


                        MOTION OF THE OFFICIAL COMMITTEE OF TALC
                  CLAIMANTS FOR ENTRY OF AN ORDER (I) AUTHORIZING AN
               ESTIMATION OF CURRENT TALC CLAIMS FOR VOTING PURPOSES,
                (II) APPOINTING KENNETH R. FEINBERG AS EXPERT PURSUANT
                 TO FEDERAL RULE OF EVIDENCE 706, AND (III) ESTABLISHING
                PROCEDURES AND SCHEDULE FOR ESTIMATION PROCEEDINGS

      THE TCC HAS ASSERTED AND CONTINUES TO ASSERT THAT THE DEBTOR’S
      CHAPTER 11 CASE WAS FILED IN BAD FAITH AND SHOULD BE DISMISSED.
      THIS MATTER IS PENDING BEFORE THIS COURT. ANY ESTIMATION OR
      RELATED PROCEDURES PROPOSED BY THE TCC ASSUMES, ARGUENDO, THAT
      THE DEBTOR’S CHAPTER 11 CASE IS NOT DISMISSED AS A BAD FAITH FILING.
      THE TCC RESERVES ALL RIGHTS WITH RESPECT TO ITS ARGUMENTS AND
      POSITION THAT DISMISSAL IS REQUIRED UNDER THE BANKRUPTCY CODE.

               The Official Committee of Talc Claimants (the “TCC”), by and through its undersigned

  counsel, respectfully submits this motion (the “Motion”) seeking entry of an order substantially in

  the form attached hereto as Exhibit A (the “Order”), pursuant to sections 105(a) and 502(c) of the

  Bankruptcy Code and Bankruptcy Rule 3018(a), (I) authorizing the estimation of current talc

  claims for voting purposes, (II) appointing Kenneth R. Feinberg as a court-appointed expert

  pursuant to Federal Rule of Evidence 706 (“FRE 706”) in connection the estimation process, and

  (III) establishing procedures and a schedule for estimation proceedings. In support of the Motion,

  the TCC respectfully states as follows.2


  1
        The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
        Street, New Brunswick, New Jersey 08933.
  2
        The TCC has moved to dismiss this bankruptcy (see Dkt. No. 286) on the ground that the Debtor’s case was filed
        in bad faith, which the Third Circuit held is the gateway issue for a Debtor to be entitled to any bankruptcy relief.
        In re LTL Mgmt. LLC, 64 F.4th 84, 102 (3d Cir. 2023). This case should be dismissed. Until such time as this
        case is dismissed, and with a complete reservation of its rights to continue to seek dismissal of this case and all
        other appropriate relief, the TCC proceeds to participate in this bad faith bankruptcy to ensure that its constituents’
        rights are protected, most importantly, with respect to any effort to confirm a plan that forever denies claimants


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                                               INTRODUCTION

          1.       The Debtor has proposed a fixed pot plan in which the talc claimants (in the

  broadest sense of the term) would share in a fixed sum capped at payments with a present value

  equal to $8.9 billion. J&J has made it clear that it will not pay more than $8.9 billion under any

  plan proposed by LTL. The universe of claims that would share in this $8.9 billion pot (e.g.,

  ovarian cancer, mesothelioma, government, third-party payor, etc.) vary in value and nature.

          2.       Estimation is necessary for two reasons: first to ensure the proper eligibility for

  and weighting of votes given the different values of the claim types, and second so that claimants

  may be adequately informed prior to voting as to their potential recovery under LTL’s plan. For

  claimants to cast informed votes and for those votes to be weighted appropriately, an estimation

  regarding the volume and value of each present and future claim type must be first conducted.

          3.       In LTL’s first bankruptcy case (“LTL 1.0”), this Court sua sponte appointed

  Mr. Kenneth R. Feinberg to “prepare and file a Rule 706 report . . . estimating the volume and

  values of current and future ovarian and mesothelioma claims for which the Debtor may be liable

  . . . .” (the “First 706 Order”) [Dkt. No. 2881 in Case No. 21-30589]. Mr. Feinberg is well qualified

  to serve in a similar role in LTL’s second bankruptcy case (“LTL 2.0”), and he has already

  undertaken significant work in that capacity in LTL 1.0.

          4.       LTL has proposed a plan for which estimation is required. According to LTL,

  60,000 claimants whose attorneys have pledged to support LTL’s plan did not appear or otherwise

  make themselves known in LTL 1.0. If these claimants are permitted to vote and if LTL’s plan is

  confirmed, all talc claimants will be forced to accept nuisance value settlements and, at the same

  time, talc claimants who reject such awards will be denied the right to pursue J&J in the tort system


      the right and ability to seek and receive fair and equitable compensation in Courts from LTL, J&J and other non-
      debtor affiliates.


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  and recover the amounts award to them by a jury. If this Court is inclined to let LTL proceed with

  its plan, one of the most significant questions that will need to be determined is who can vote and

  with what weighting. See 11 U.S.C. § 1126(c) & 11 U.S.C. § 502(c).

         5.      Section 1126(c) of the Bankruptcy Code sets forth the requirements for acceptance

  of a plan by a class of claims. A class has accepted a plan only if (a) at least two thirds in amount,

  and (b) more than one half in number of the creditors that voted accepted the plan. See 11 U.S.C.

  § 1126(c) (emphasis added). Section 1126(c)’s two thirds in amount requirement means that the

  value of current claims must be taken into consideration when determining whether a class has

  accepted a plan. Obtaining the support of 50% or 75% in number, standing alone, is insufficient.

         6.      To have a claim, an individual must have a “right to payment.” 11 U.S.C. § 101(5).

  J&J has made it clear that there is no scientific connection between non-ovarian gynecological

  cancers and J&J’s talc products. However, in unveiling LTL 2.0, LTL trumpeted the purported

  support of some 60,000 claimants—who, to this day, have not been confirmed to have been

  diagnosed with mesothelioma or ovarian cancer, which are both ailments scientifically shown to

  be linked to the use of J&J’s talc products and for which J&J has paid, or agreed to pay,

  compensation in the tort system. To the extent these gynecological cancer claims are neither

  ovarian cancer claims nor mesothelioma claims, they should not be permitted to vote on LTL’s

  plan. At the very least, their claims should be accorded substantially less value for voting purposes

  than talc claims that could survive a Daubert challenge.

         7.      Weighing each talc claim equally for voting purposes (regardless of whether the

  ailment has a proven causal relationship to talc exposure) in one massive class comprised of highly

  variable claims is unsupported by the facts and circumstances of this case. Doing so would only

  advance J&J’s scheme of dredging up a mass of valueless “made for bankruptcy” claims to not




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  only forever rob ovarian cancer and mesothelioma claimants of their Constitutional rights to a jury,

  but also to dilute their votes in an attempt to irrevocably bind them to capped, less than full and

  deeply discounted recoveries.3 The Debtor’s motion to establish solicitation procedures filed on

  July 11, 2023 reveals that this is, in fact, the Debtor’s game plan. See Dkt. No. 1011-1 at ¶¶ 51-56.

  In its motion, the Debtor asks this Court to estimate all talc claims to be worth $1.00 for voting

  purposes—meaning that talc claims involving ovarian cancer and mesothelioma would have the

  same weight as non-ovarian gynecological claims for voting purposes.

          8.       This Court should not permit a plan process to go forward that, in effect, uses

  claimants with claims not entitled to compensation under applicable law to stifle claimants with

  Daubert-supported claims that have been compensated in the tort system from ever litigating their

  claims in the future against solvent J&J.

          9.       Section 502(c) provides a tool for exactly this purpose—an estimation of the

  various claims against the Debtor will ensure that claimants are informed when they cast their

  votes and that such votes carry deserved weight. Mr. Feinberg, having familiarity with the Debtor,

  the talc claims (filed and unfiled) against J&J and the Debtor, and the benefit of more than six

  months of work in this area in LTL 1.0, is the obvious and most qualified individual to perform

  this analysis in LTL 2.0. Appointing Mr. Feinberg to this role will facilitate data-driven weights

  by claim type for voting purposes that will serve to ensure the integrity and equity of the plan

  voting process.




  3
      J&J’s promise that talc claims will be “paid in full” through LTL’s bankruptcy is a falsehood. By “paid in full,”
      J&J means that all talc claimants will be forced to accept nuisance value settlement awards and will be denied the
      right to seek fair and equitable compensation from J&J in the tort system. The sole purpose of LTL’s bankruptcy
      is to permit J&J to dictate what constitutes full payment and deny any talc claimant who disagrees with J&J’s
      determination the right to collect the amount awarded by a jury from J&J. This is not a “paid in full” case; rather,
      it is an unlawful use of a manufactured bankruptcy for J&J’s benefit to silence anyone who would dare stand up
      to J&J.


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         10.      Other parties in interest who want to participate in this critical matter should also

  have the right to be heard. The TCC is proposing an estimation process under the facts of this case

  that affords the TCC, the FCR, the Debtor, J&J, and other interested parties with the right to

  conduct discovery, offer expert reports, and to be heard in connection with how much weight, if

  any, should be assigned to the various categories of talc claims for voting purposes. The Debtor

  and J&J have already retained Bates White to offer an expert report on this issue and have long

  expected this battle as part of any confirmation proceeding.

         11.      To be clear, the TCC believes that LTL’s plan is patently unconfirmable for many

  reasons, including the fact that the sole purpose of LTL 2.0 is to obtain an illegal discharge of

  J&J’s independent talc liability. See In re Combustion Eng’g, Inc., 391 F.3d 190, 233 (3d Cir.

  2004). If the plan process is to move forward, it must be consistent with the Bankruptcy Code and

  the Bankruptcy Rules. Given the circumstances before the Court and the danger posed by J&J’s

  plan to the rights of talc claimants to seek fair and equitable compensation for their injuries, LTL’s

  plan process must begin with an estimation proceeding under section 502(c).

                                           BACKGROUND

         12.      The Debtor re-filed for bankruptcy the same day its case was dismissed. The

  Debtor’s second bankruptcy, by its own admission, is a continuation of its first bankruptcy—

  designed to accomplish the same objective, all for the benefit of non-debtor J&J. The Debtor has

  made clear, its sole objective (now, as in its first bankruptcy) is to resolve all talc claims against

  non-debtor J&J for all time and to deny talc claimants the ability to pursue their rights against J&J

  in courts of law.

         13.      But it is worth pausing for a moment to examine what the universe of talc claims

  includes.    Often, parties refer to the need to resolve the “ovarian cancer claims” and the




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  “mesothelioma claims.” But J&J seeks to garner support for a plan from holders of purported talc

  claims other than “ovarian cancer claims” and “mesothelioma claims.” To appreciate the obstacles

  that must be overcome for talc claimants to fairly vote on a plan and to be provided with adequate

  disclosure to do so—i.e., the reasons why estimation is now necessary in this case—it is useful to

  begin with a general description of the various classes or categories of talc claims.

  The Talc Claims

          14.      Ovarian Claims. One universally acknowledged category of talc claims are

  personal injury claims involving epithelial ovarian cancer, fallopian tube cancer, or primary

  peritoneal cancer.4 This is what is commonly referred to in the Debtor’s bankruptcy case as an

  “Ovarian Claim.”

          15.      The term “Ovarian Claim” does not include other types of gynecological cancers,

  including mucinous ovarian cancer, borderline mucinous ovarian cancers, endometrial cancer,

  uterine cancer, vaginal cancer, cervical cancer, germ cell cancer, small cell cancer, stromal cancer,

  or vulvar cancer. Ovarian Claims are talc claims that have been found to have a clear link to

  regular or routine application of J&J’s Baby Powder and/or Shower to Shower to the genital area

  by females. These are talc claims that Courts have found have scientific support sufficient to get

  past summary judgment and for submission to a jury for consideration.5 And these are talc claims



  4
      The scientific literature describes, and it is generally understood, that epithelial ovarian cancer, fallopian tube
      cancer and primary peritoneal cancer all fall within the same category of cancer (i.e., epithelial ovarian cancer)
      and share the same pathogenesis. See Levanon, et al., New Insights Into the Pathogenesis of Serous Ovarian
      Cancer and Its Clinical Impact. J CLIN ONCOL 26:5284-5293 (2008). A causal connection between the genital
      application of talcum powder and epithelial ovarian cancer is supported for the following histologic subtypes:
      serous, endometrioid, clear cell, undifferentiated, mixed, serous borderline and endometrioid borderline.
  5
      See In re Johnson & Johnson Talcum Powder Products Marketing, Sales Practices and Products Litigation, 509
      F. Supp. 3d 116, 181 (D. N.J. Apr. 27, 2020). The Daubert briefing in the MDL proceeding focused solely on
      ovarian cancer. Plaintiffs’ experts specifically limited their opinions to epithelial ovarian cancer, which added
      strength to their scientific conclusions. J&J did not substantively discuss non-ovarian gynecological cancers,
      except to assert that talc “does not” cause “vaginal, cervical, [or] endometrial cancer.” Defendants’ Memorandum
      of Law in Support of Motion to Exclude Plaintiffs’ Experts’ General Causation Opinions, No. 3:16-md-02738-
      FLW, Doc. 9736, at 88 (D.N.J.). LTL has offered no explanation as to how or why the Daubert ruling in the


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  for which J&J has been held liable in the tort system, or has settled in the tort system.6 These are,

  in short, the types of claims that have been actually compensable in the tort system and for which

  J&J has agreed to pay thousands of dollars in settlements

          16.      The Debtor’s proposed plan implicitly acknowledges the key distinction between

  ovarian and non-ovarian gynecological cancer.7 The Gynecological Cancer Claims are treated as

  the lowest category of claims and are paid under the “Accelerated Evaluation Program.” Dkt. No.

  912, Ex. M, § 5.2.1 (“Gynecologic Claims other than Ovarian Cancer claims shall only be eligible

  to receive a Point Value based on the Accelerated Evaluation Process.”). Moreover, the record at

  the motion to dismiss hearing established that J&J has never had to pay a judgment and has never

  agreed to pay by settlement a Gynecological Cancer Claim in the tort system.8

          17.      In fact, in a mass email communication sent by Onder Law—one of the plaintiff

  firms supporting the Debtor’s plan—admitted as follows:                     “Many of these claimants have




      MDL should not be followed by this Court.
  6
      See Ingham v. Johnson & Johnson, 608 S.W.3d 663 (Mo. App. 2020), cert. denied, 141 S. Ct. 2716 (2021) (highest
      Missouri state court sustaining $2.2 billion judgment against J&J and JJCI for 22 women alleging ovarian cancer
      claims, finding J&J “engaged in reprehensible conduct of its own.”); see also Echeverria v. Johnson & Johnson
      (Johnson & Johnson Talcum Powder Cases), 37 Cal. App. 5th 292 (Cal. Ct. App. 2019) (holding there is
      “substantial evidence to support” the jury’s findings of general and specific causation (as against JJCI) and for
      compensatory damages from JJCI arising out of its breach of its duty to warn customers of the risk of ovarian
      cancer from use of its talc products); accord Johnson & Johnson Talcum Powder Products Marketing, Sales
      Practices and Products Litigation, 509 F. Supp. 3d at 181. Other state-court appellate cases upholding talc claims
      have similarly addressed ovarian cancer specifically. E.g., Carl v. Johnson & Johnson, 464 N.J. Super 446, 475,
      237 A.3d 308, 326 (App. Div. 2020).
  7
      The term “Gynecological Cancer Claim” refers to a talc claim for the following types of cancers: mucinous
      ovarian cancer, borderline mucinous ovarian cancers, endometrial cancer, uterine cancer, vaginal cancer, cervical
      cancer, germ cell cancer, small cell cancer, stromal cancer, vulvar cancer, metastatic cancer from any non-
      qualifying primary cancer, and benign pathology.
  8
      See Hr’g Tr. July 28, 2023 (AM Session), 111:4-20 (J. Murdica) (“Q. Okay. It’s true is it not that Johnson and
      Johnson never paid any settlement money on non-ovarian cancer gynecological cases, true? A. If you’re asking
      me the same questions I was asked before, unless it was inadvertent, we were paying non-borderline epithelial
      ovarian cancer, or more strict than that in the few ovarian settlements I did in the tort system. Some of them, it
      was not just epithelial. It had to be a specific histologic pathology called Sirius. Q. And so the answer to my
      question was, yes. Johnson and Johnson never knowingly paid on a claim for a non-ovarian gynecological cancer,
      true? A. I believe that that’s true, and I believe I gave that same answer earlier this morning. Q. Okay. You did
      settle thousands of ovarian cancer cases in the tort system, correct? A. Primarily with Mark Lanier.”).


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  gynecologic cancers that are not as convincingly proven by science to be related to talc; as

  such they will receive lesser compensation.” See Exhibit B (emphasis in original).9 The phrase

  “not as convincingly” is in fact an exaggeration—Gynecological Cancer Claims are unproven and

  scientifically unfounded.

          18.      Mesothelioma Claims. Another universally acknowledged category of talc claims

  are personal injury claims involving mesothelioma—i.e., a type of cancer caused by exposure to

  asbestos that develops in the thin layer of tissue that covers many of the internal organs, including

  the lining of the lungs and chest wall, abdomen, heart, and testes. This is what is commonly

  referred to in the Debtor’s bankruptcy case as a “Mesothelioma Claim.”

          19.      Mesothelioma is fatal.          And, like Ovarian Cancer, it is a horrific disease.

  Mesothelioma is caused by exposure to asbestos, including (as has been found by juries) exposure

  to J&J’s talc products. Since 2018, J&J has suffered multiple defeats in the tort system when it

  comes to Mesothelioma Claims—see, e.g., Anderson ($22.75 million), Leavitt ($29 million),

  Schmitz ($12 million), Barden ($787 million for 4 plaintiffs, including $750 million in punitive

  damages), Cabibi ($12 million), Moure-Cabrera ($6.22 million), Prudencio ($25.5 million), and

  Johnson ($27.5 million). J&J’s litigation strategy of denying that its talc products contained

  asbestos has become untenable, and it is clear that Mesothelioma Claims—like Ovarian Claims

  described above—have been actually compensable and have been settled by J&J in the tort system.


  9
      At least 12,000 of the claimants represented by Onder Law appear to hold non-compensable claims. See Hr’g Tr.
      July 28, 2023 (PM Session), 93:5-24 (J. Onder) (“Q. Okay. And he [Mr. Murdica] said that they would never
      pay on cervical cancer claims, right? A. Just as he said they wouldn’t pay on ovarian. Q. Well, you knew that
      they did pay on ovarian cancer claims, right? A. Depending which time frame. I knew they settled Lanier’s
      docket. Q. Well, you knew that they settled Lanier’s docket. You knew they settled other cases as well, correct?
      A. I’m not aware of any other than Lanier. Q. Okay. Then but you did know that in the tort system they settled
      ovarian cancer cases, correct? A. Correct. Q. Okay. But the – he [Mr. Murdica] told you that never uterine,
      right? A. Correct. Q. He told you never cervical, right? A. Correct. Q. You broke down for us between your
      case load of the gynecological cancers 9,000 uterine, 9,000 ovarian, 3,000 unknown. Do you have cervical
      cancers in your -- in your inventory? A. For the most part, I do not. I’m not saying there isn’t a single one
      there…”)


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            20.      Governmental Claims. J&J’s sale of talc products has also resulted in consumer

   protection claims asserted by governmental units (the “Governmental Talc Claims”).

            21.      In June 2014, the Mississippi Attorney General filed a complaint against J&J and

   Old JJCI alleging that they violated the Mississippi Consumer Protection Act by failing to disclose

   health risks associated with use of talc. See LTL Mgmt. LLC v. State of New Mexico, et al., Case

   No. 22-01231-MBK, Dkt. No. 2-3. In January 2020, the State of New Mexico filed a consumer

   protection case against J&J, Old JJCI, and certain other defendants alleging that they deceptively

   marketed talc products by making misrepresentations about the safety of the products. See id. at

   Dkt. No 2-2.

            22.      Further, forty-one states and the District of Columbia have commenced a joint

   investigation into J&J’s and Old J&J’s marketing of talc products. And five states have issued

   Civil Investigative Demands seeking documents and other information. These investigations

   could lead to additional states filing consumer protection claims against J&J based on its fraudulent

   conduct and years of deceiving consumers. See Dkt. No. 4 (Decl. of John H. Kim in Support of

   First Day Pleadings), ¶ 39.10

            23.      Third Party Payor Talc Claims. Third party payor claims are claims asserted by

   governmental units, insurance companies, health maintenance organizations, employers or other

   entities that paid for medical services to treat individual individuals injured on account of talc-

   related injuries, including Ovarian Cancer and Mesothelioma (the “Third Party Payor Talc

   Claims”). E.g., In re LTL Mgmt. LLC, Case No. 21-30589-MBK, Dkt. No. 755. According to the

   Debtor, third party payors hold direct claims against the Debtor and its affiliates, as well as liens



   10
        The Governmental Talc Claims are not “personal injury, wrongful death, or property-damage actions seeking
        recovery for damages allegedly caused by the presence of, or exposure to, asbestos or asbestos-containing
        products” under section 524(g)(2)(B)(i)(I) of the Bankruptcy Code and cannot be paid by a section 524(g) trust.


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   and subrogation claims against proceeds to be received by current and future talc claimants for

   medical costs. The medical costs associated with treating Ovarian Cancer and Mesothelioma are

   significant. To date, no settlement agreement has been reached regarding the treatment of claims

   asserted by the Centers for Medicare & Medicaid Services (“CMS”) and the U.S. Department of

   Veterans Affairs. See Hr’g Tr. July 28, 2023 (PM Session), 132:1-8 (J. Onder).11

            24.      Canadian Claims. The Debtor’s stated intention is to resolve claims in both the

   United States and Canada. Multiple class action lawsuits, certified and uncertified, exist in Canada

   as well as individual actions. These are collectively referred to as “Canadian Claims.” See Dkt.

   No. 4 (Decl. of John H. Kim in Support of First Day Pleadings), ¶¶ 38, 102-04.

            25.      The Canadian civil litigation process and governing law, including in respect of

   class actions, has significant nuanced differences to that of the United States. A class action may

   be commenced in any common law province and can be brought on behalf of class members in

   that province or across multiple regions in Canada. It is therefore common to see separate class

   actions launched in multiple jurisdictions against the same defendant for the same claims.

            26.      Unlike the United States, Canada does not have a “multidistrict litigation” system

   to consolidate these cases. Class actions can proceed in multiple jurisdictions simultaneously and

   the cases will not necessarily be consolidated. They may proceed at different speeds and for

   different relief. This has the greatest impact for class actions commenced in the French-speaking

   province of Québec, which has a different legal and procedural regime than the rest of Canada

   (Québec has a civil law, rather than a common law system).




   11
        The Debtor asserts that it negotiated a term sheet with the lawyers of a sub-set of the holders of private non-CMS
        Third Party Payor Talc Claims—namely certain private payors that assert claims for medical expenses paid for
        non-mesothelioma talc personal injury claims, although a large number of other private third party payors are not
        in agreement with the term sheet.


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          27.     Aggregation of damages is allowed under provincial class action legislation that

   allows the Canadian court to determine monetary damages at a class-wide level based on the total

   monetary damage caused by the defendant’s wrongdoing.               An individual class member’s

   entitlement to a share of the aggregate award is left to be determined later through a claims process.

   Class-members may “opt-out” to pursue individual actions. Due to the nature and stage of the

   various Canadian Claims, as well as the stay imposed on these proceedings pursuant to the

   recognition proceedings LTL has commenced in Canada, the universe of direct Canadian talc

   claims is presently unknown.

          28.     It must be noted as well that the governments of each of the Canadian provinces

   and territories also have subrogated claims for recovery of universal health care costs. A resolution

   of talc claims in Canada will require a claims identification process to comply with Canadian law

   and be recognized by the Canadian Court. Some class action plaintiffs have already indicated that

   they may object to the recognition of J&J’s plan in Canada on public policy and other grounds.

          29.     Talc Supplier Claims. The Debtor also faces liability for claims asserted by third-

   party suppliers who mined and sold talc to JJCI (sometimes referred to as “Talc Supplier Claims”).

   Talc Supplier Claims include claims for damages for breach of contract arising from JJCI’s breach

   of any contractual obligation to indemnify a talc supplier other than payment of the indemnity

   itself, as well as claims for indemnification against JJCI. The clear example of these claims are

   the claims that have already been asserted against JJCI in the Imerys and Cyprus bankruptcy cases.

   See Dkt. No. 4 (Decl. of John H. Kim in Support of First Day Pleadings), ¶¶ 56-60.

          30.     In addition to the Ovarian Claims, the Mesothelioma Claims, the Gynecological

   Cancer Claims, the Governmental Talc Claims, the Third Party Payor Talc Claims, the Canadian




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   Claims, and the Talc Supplier Claims, various distributors and retailers may assert talc claims

   against the Debtor as well, including claims for indemnification and contribution.

          31.       To fully appreciate the scope of the liabilities that J&J is seeking to resolve for all

   time through LTL’s bankruptcy, the Court need only examine the definition of “Talc Related

   Liabilities” found in both Funding Agreements, which is so broad that it requires its own separate

   Schedule and includes every conceivable claim related directly or indirectly to the sale of J&J’s

   talc products.

          32.       The Debtor’s proposed plan, e.g., J&J’s desired plan, would channel all these talc

   claims to a trust for payment—including all future claims and claims involving cancers for which

   a scientific link to the use of J&J’s talc products is established in the future—and, at the same

   time, it would bar all current and future claimants from ever pursuing J&J or any of its affiliates

   in the tort system. If the trust runs out of money, future talc claimants will have no recourse other

   than to argue that their right to due process was denied.

          33.       And, if J&J’s desired plan trust were created pursuant to section 524(g) or

   otherwise, it would be required to establish reserves to ensure that it is in a financial position to

   pay present and future talc claims in substantially the same manner. And the trust could be required

   to establish reserves to ensure that Governmental Talc Claims, Third Party Payor Talc Claims and

   Talc Supplier Talc Claims receive the same pro rata distribution as other talc claims when their

   claims are liquidated years from now. Further, under LTL’s proposed plan the trust would be

   required to pay all defense costs associated with liquidating such claims, which would further

   deplete the limited and fixed assets available to pay talc victims. See Dkt. No. 912 at § 4.16.

          34.       If this Court is inclined to let LTL proceed with its proposed plan, one of the most

   significant questions that will need to be determined is who can vote and with what weighting.




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   See 11 U.S.C. § 1126(c) & 11 U.S.C. § 502(c). The Debtor cannot satisfy the requirements of

   section 524(g) or section 1126(c) based on the votes of claimants holding non-compensable claims.

   Section 524(g)’s seventy-five percent (75%) voting requirement can only be met by a class or

   classes of “claimants whose claims are to be addressed by a trust” that votes in favor of a plan—

   i.e., no claim, no vote. 11 U.S.C. § 524(g)(2)(B)(ii)(IV)(bb).

          35.     Under section 1126(c) an impaired class is deemed to accept a plan only if it is

   approved by those creditors who “hold at least two-thirds in amount and more than one-half in

   number of the allowed claims of such class held by creditors.” 11 U.S.C. § 1126(c). Accordingly,

   consideration must be given to the amount (or value) of the claims held by the various groups of

   talc claims (or types of talc claims) as well as the number of creditors who support the plan.

          36.     If these requirements are not observed, non-compensable claims could be used to

   drown-out cancer victims who are dying based on illnesses found to be linked to J&J’s talc

   products. LTL and J&J cannot stuff the ballot box with unfiled, unscheduled, non-compensable

   claims to prevent claimants from asserting Ovarian Claims and Mesothelioma Claims against a

   solvent Fortune 50 company in the tort system when most claimants holding such claims reject the

   plan. Under these circumstances, section 502(c) requires this Court to estimate claims for voting

   purposes to ensure that the proper weight is accorded to each claim under section 1126(c) of the

   Bankruptcy Code.

                                   JURISDICTION AND VENUE

          37.     This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. § 1334.

   This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this Court

   pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the relief requested herein




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   are sections 105(a) and 502(c) of the Bankruptcy Code, Bankruptcy Rule 3018(a), and Federal

   Rule of Evidence 706.

                                       RELIEF REQUESTED

          38.     By this Motion, the TCC seeks an order, pursuant to sections 105(a) and 502(c) of

   the Bankruptcy Code, Bankruptcy Rule 3018(a), and Federal Rule of Evidence 706, authorizing

   the estimation of current talc claims for voting purposes, appointing Kenneth R. Feinberg as a

   court-appointed expert pursuant to FRE 706 in connection the estimation process, and establishing

   procedures and a schedule for estimation proceedings.

                                            ARGUMENT

          I.      For LTL’s Plan to Go Forward, the Court Is
                  Required to Estimate Talc Claims for Voting Purposes

          39.     For LTL’s plan to go forward under the facts presented by this case, this Court must

   estimate the talc claims. Section 502(c) of the Bankruptcy Code provides that the Court “shall”

   estimate “any contingent or unliquidated” claims against a debtor if the “fixing or liquidation”

   thereof “would unduly delay the administration of the case.” 11 U.S.C. § 502(c). Bankruptcy

   Rule 3018(a) provides that “the court after notice and hearing may temporarily allow the claim or

   interest in an amount which the court deems proper for the purposes of accepting or rejecting a

   plan.” Fed. R. Bankr. P. 3018(a).

          40.     Courts applying section 502(c) have estimated claims when such is necessary to

   ensure that such claims are accorded the proper weight for voting purposes. See Bittner v. Borne

   Chem. Co., 691 F.2d 134, 137 & fn. 9 (3d Cir. 1982) (affirming court’s estimation of stockholders’

   claims for “voting” purposes “at zero, and temporarily disallowing them until the final resolution

   of the state action”); In re Ralph Lauren Womenswear, Inc., 197 B.R. 771, 775 (Bankr. S.D.N.Y.

   1996) (estimating former chief executive officer’s claim for voting purposes); In re Farley, Inc.,



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   146 B.R. 748, 756 (Bankr. N.D. Ill. 1992) (estimating personal injury claims “for purpose of voting

   and determining plan feasibility”); In re Federal Press Co., 116 B.R. 650, 653 (Bankr. N.D. Ind.

   1989) (estimating personal injury tort claims “for purposes of voting on the debtor’s plan of

   reorganization, and not for the purpose of determining the debtor’s ultimate liability for the claim

   or the amount of the claim for purposes of distribution.”); In re Continental Airlines Corp., 60

   B.R. 903, 906 (Bankr. S.D. Tex. 1986) (estimating claim “at zero value for voting purposes”

   pending liquidation “through subsequent proceedings, independent of [the] reorganization

   [proceeding].”)

          41.     In Bittner, the Court estimated a stockholder’s claims at zero for voting purposes

   based on the stockholder’s “chances of ultimately succeeding in the state court action” due to the

   uncertainties surrounding the claim and “probability of success” on the merits. 691 F.2d at 137.

   The Third Circuit found that this was necessary to ensure that stockholders did not wield undue

   influence and exercise a “controlling[] voice in the reorganization proceeding.” Id. The temporary

   disallowance of the claim for voting purposes was not a “final adjudication of the state court

   action.” Id. But it was necessary for the Court to avoid undue delay in the reorganization and was

   consistent with “the Chapter 11 concerns of speed and simplicity.” Id.

          42.     In LTL 1.0, the Debtor proposed a standalone estimation proceeding divorced from

   any plan. LTL argued that estimation was necessary “for the purposes of formulating” a plan.

   See Case No. 21-30589, LTL Status Report (Dkt. No. 2473) at 3. This argument has now been

   shown to be false—the plan the Debtor filed in LTL 2.0 was “formulated” without the benefit of

   any judicial findings made in an estimation proceeding. The standalone estimation proceeding in

   LTL 1.0 was outside the traditional use of estimation under section 502(c) of the Bankruptcy Code.




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            43.       However, as the TCC argued in LTL 1.0, Courts can and do estimate claims under

   section 502(c) of the Bankruptcy Code for voting purposes. See Case No. 21-30589, TCC

   Statement in Opposition to Estimation at Dkt. No. 2722, ¶ 30. Cases like Bittner, Ralph Lauren,

   Farley, Federal Press, and Continental Airlines show that estimation for voting purposes can take

   place to resolve issues that arise in the context of attempts to confirm a filed chapter 11 plan. Here,

   LTL has now filed a chapter 11 plan. And it is the type of plan that necessitates an estimation

   proceeding under section 502(c) of the Bankruptcy Code.12

            44.       If the Court is inclined to permit LTL to move forward with its plan, estimation is

   required to determine who can vote and with what weighting. J&J’s litigation, verdict, and

   settlement history, as well as LTL’s proposed plan and trust distribution procedures reflect

   significant variances in the values of the various groups of talc claims. Prior to LTL 2.0, J&J had

   never settled a single Gynecological Cancer Claim. And no holder of a Gynecological Cancer

   Claim had ever obtained a jury verdict against J&J or any affiliate.

            45.       Under Bittner, the chances of these talc claims succeeding on the merits in a state

   court action would justify a zero valuation for voting purposes, particularly in determining whether

   any class including talc claims is an accepting class under section 1126(c) of the Bankruptcy Code.

            46.       But this does not end the inquiry or the need for estimation in this case. A cursory

   review of LTL’s proposed trust distribution procedures shows variances in the proposed treatment

   of Mesothelioma Claims, Ovarian Claims, Governmental Talc Claims, Canadian Claims, Third


   12
        The TCC’s plan does not suffer from the same defects as LTL’s plan. The TCC’s plan does not impose a limited
        or fixed $8.9 billion fund but instead makes the full value of Old JJCI—at least $61.5 billion—available to pay
        talc claims, consistent with LTL’s representations to this Court and the Third Circuit. The TCC’s plan classifies
        the various claims and interests into eleven separate classes, six of which would be entitled to vote. And the
        TCC’s plan does not discriminate between the classes of talc claims. The TCC’s plan would not require
        estimation unless a party opposed feasibility and argued that LTL’s total liability is more than $61.5 billion (which
        no party has ever suggested). Estimation could be helpful in showing that the TCC’s plan is confirmable. The
        TCC’s plan would require far less litigation to confirm than LTL’s plan. If this case is not dismissed, the TCC’s
        plan remains the only viable path forward. The TCC, however, has not been permitted to file its plan.


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   Party Payor Talc Claims and Talc Supplier Claims. An understanding of the value of these talc

   claims is necessary to determine proper weighting for voting purposes and to determine how much

   claimants can realistically expect to recover under LTL’s proposed capped settlement fund. A

   critical issue for each claimant under LTL’s proposed plan is: what am I going to receive?

            47.       Section 1125 of the Bankruptcy Code requires that the disclosure statement contain

   “adequate information” sufficient to enable a hypothetical reasonable creditor to make an informed

   judgment about the plan. See 11 U.S.C. § 1125(b). In this case, adequate information requires

   information about likely recovery. See In re Divine Ripe, L.L.C., 554 B.R. 395, 408 (Bankr. S.D.

   Tex. 2016) (finding that the disclosure statement did not contain adequate information under

   section 1125 because it failed to disclose actual or projected recoveries).

            48.       In other words, a party solicited to vote on LTL’s plan may only be said to have

   adequate information if such party knows what its recovery will be under the plan. A disclosure

   statement that does not provide recovery amounts cannot be said to contain adequate information,

   and votes thereon may not be solicited under section 1125 of the Bankruptcy Code. Instead, LTL

   offers “points” of an undetermined value with no further assurances or guarantee. The supporting

   law firms do not even know what “points” under LTL’s plan will be worth.13

            49.       With the pot fixed at a present value of $8.9 billion, each claimant’s recovery

   depends on the number and nature of all talc claims. At present, claimants lack that information.

   Claimants do not know, for instance, the number of present and future Ovarian Claims,

   Mesothelioma Claims, Gynecological Cancer Claims, Governmental Talc Claims, Canadian


   13
        See Hr’g Tr. July 28, 2023 (PM Session), 97:25-98:14 (J. Onder) (“Q. You can’t call up a client and say, hey, I
        know you said you’re with me – A. Right. Q. -- but I got good news for you, here’s how much money you get,
        I want authority to settle. You can’t do that now, can you? A. That’s correct. Q. In fact, the most you can do
        is you can say, hey, I got news for you, you got 720 points, right? A. Right. Or -- and – Q. Or whatever points.
        But you don’t know, because it hasn’t been determined, how many points equals a dollar or how many dollars
        equals a point, true? A. Without the input of the FCR, you can’t tell with certainty. We can estimate, but correct.”)


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   Claims, Third Party Payor Talc Claims, or Talc Supplier Claims. Nor do they know the value of

   the respective claims and what impact the allowance of such talc claims could have on their

   recoveries.

          50.     LTL is proposing a fixed fund. Thus, without this information it is impossible for

   claimants to answer the critical question: what am I going to receive?

          51.     Estimating claims for voting purposes will enable claimants and the Court to have

   a clearer understanding of the universe of potential talc claims that would be paid exclusively from

   LTL’s proposed settlement trust if LTL’s plan is confirmed. This would inform the value of the

   “points” awarded under LTL’s plan and enable talc claimants who are entitled to vote to have a

   clearer understanding of the plan’s impact on their legal rights and likely recoveries. If talc

   claimants will only recover pennies on the dollars under LTL’s proposed plan, that information

   must be clearly disclosed in any disclosure statement approved in connection with LTL’s plan.

          II.     The Court Should Appoint Mr. Feinberg as an Expert Witness

          52.     This Court has already addressed many of these issues. To be as efficient as

   possible, the Court should appoint Mr. Feinberg as an expert witness in connection with the

   estimation of the Debtor’s talc liability.

          53.     Federal Rule of Evidence 706 allows a Court to appoint an expert witness to serve

   the court on its own motion or by that of another party. See Fed. R. Evid. 706; see Daubert v.

   Merrell Dow Pharm., Inc., 509 U.S. 579, 595 (1993) (“Rule 706 allows the court at its discretion

   to procure the assistance of an expert of its own choosing.”). In LTL 1.0, this Court appointed

   Mr. Feinberg pursuant to FRE 706 “in connection with estimating the Debtor’s liability for present

   and future talc under section 502(c) of the Bankruptcy Code.” See First 706 Order. Specifically,

   this Court ordered Mr. Feinberg to prepare and file a Rule 706 report “estimating the volume and




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   values of current and future ovarian and mesothelioma claims for which the Debtor may be liable,

   whether arising in the United States or Canada.” Id. at ¶ 2.

            54.      Prior to entering the First 706 Order, this Court made two notable observations.

   First, this Court observed that “[w]ith respect to 706 . . . use [of an expert] in the fashion that I am

   going to describe is not new or extraordinary.” Hr’g Tr. July 28, 2022, 7:12-14.14

            55.      Second, this Court observed that “the work of such an expert is especially critical

   in dealing with complex mass tort problems,” reasoning that “Courts cannot proceed towards a

   just and equitable result without some reasonably firm data projecting the numbers and volume of

   claims at issue and that all parties have a strong and conflicting interest in the character of the

   data.” Hr’g Tr. July 28, 2022, 7:22-8:2. As such, this Court concluded that “these factors alone

   and in combination point to the necessity of a neutral expert providing assistance under the

   auspices of the Court.” Hr’g Tr. July 28, 2022, 8:2-4.

            56.      After determining that a Court-appointed expert was critical to the case, this Court

   elucidated the qualifications of its intended (and eventual) selection, Mr. Feinberg.15 Not only did

   this Court find that Mr. Feinberg was well qualified for the role, the Court also noted that “the

   universe of applicants who could fill this role is somewhat limited,” and compared the small

   applicant pool to the relative difficulty that the FCR, Ms. Ellis, had securing an expert. See Hr’g

   Tr. July 28, 2022, 8:10-15.

            57.      The TCC further submits that Mr. Feinberg is the best and most appropriate expert

   for the role for three reasons.


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        This Court went on to note that “[i]t has been used in the past, for instance, by Judge Burton Lifland, in Calpine,
        also in the Joint Eastern and Southern District asbestos litigation matters which arose out of Manville. I think
        Judge Isgur actually recently in HONX spoke to the possibility of appointing a 706 expert.” Hr’g Tr. July 28,
        2022, 7:14-19.
   15
        See Hr’g Tr. July 28, 2022, 8:6-9 (“Mr. Feinberg, I’m sure is well-known to most of you, has an extensive career
        and record in this type of work and a familiarity with many if not all of the issues that are presented.”).


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           58.     First, as the Court already found in LTL 1.0, Mr. Feinberg has the necessary

   qualifications to serve as the Rule 706 expert and the potential pool of qualified applicants who

   can fill this role remains limited.

           59.     Second, Mr. Feinberg has significant knowledge regarding the Debtor and the

   nature and extent of its talc liability (including filed, unfiled and future claims) because of his

   experience as the Rule 706 expert in LTL 1.0. As a result of his experience in LTL 1.0,

   Mr. Feinberg will not need to spend time familiarizing himself with the Debtor and its liabilities

   and should be able to immediately engage in meaningful discussions and decisions with the

   Debtor, the TCC, and other key constituents regarding the estimation of the Debtor’s talc liabilities

   for voting purposes.

           60.     Finally, and relatedly, consideration of alternative candidates would result in

   additional costs and delays, and any other expert would require additional time to familiarize

   himself with critical facts in this case.

           61.     The terms and guidelines that apply to Mr. Feinberg, in his capacity as the Court-

   Appointed Expert, in the preparation and submission of his Rule 706 Report are consistent with

   the Order Appointing Expert Pursuant to Federal Rule of Evidence 706 (Dkt. No. 2881) entered

   by this Court in LTL 1.0 and as set forth in Paragraph 3 of the Proposed Order.

           62.     The scope of Mr. Feinberg’s engagement, however, has been expanded to include

   not just the appropriate weight to be accorded to different types of talc claims for voting purposes,

   but also the aggregate volume and value of all current and future talc claims that will be satisfied

   by any trust formed pursuant to LTL’s proposed plan. LTL’s proposed plan trust is not limited to

   current and future Ovarian Claims and Mesothelioma Claims.             Giving weight or value to

   Gynecological Cancer Claims (which should be estimated at zero or de minimis values), among




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   others, could cause significant dilution to the recoveries of holders of Ovarian Claims and

   Mesothelioma Claims. Mr. Feinberg’s engagement, therefore, must mirror the universe of talc

   claims being channeled under LTL’s plan since this universe necessarily informs the ultimate

   distribution to each talc claimant under LTL’s plan.

          III.      The Court Should Approve the Proposed Estimation Schedule

          63.       Finally, the TCC requests that the Court approve a schedule and procedures for the

   estimation proceeding to ensure that all parties in interest that want to participate can do so. Courts

   have adopted claims estimation procedures in the course of granting estimation orders. See, e.g.,

   In re CMTSU Liquidation, Inc. (f/k/a CIBER, Inc.), Case No. 17-10772 (BLS) (Bankr. D. Del.

   Sep. 29, 2017) (approving claims estimation procedures); In re VeraSun Energy Corp., Case No.

   08-12606 (BLS) (Bankr. D. Del. Nov. 19, 2009) (same); In re Motors Liquidation Co., Case No.

   09-50026 (REG) (Bankr. S.D.N.Y. Dec. 15, 2010) (same).

          64.       The TCC proposes the following schedule for fact and expert discovery, motion

   practice, briefing and a hearing in advance of the consideration of any disclosure statement. This

   process—appropriate specifically for this case—is intended to avoid undue delay while ensuring

   a transparent process in which all parties in interest may participate. The TCC would welcome a

   prompt meet and confer process with all parties in interest to negotiate an agreed schedule and set

   of procedures, but nonetheless offers the following schedule and procedures for the Court’s

   consideration:

                    a.     Within 7 days after entry of the Order granting this Motion, any party in

   interest that wishes to submit evidence in connection with the estimation hearing shall file a Notice

   of Estimation Participating Party, in the form attached hereto as Exhibit C. The TCC, the FCR,

   the Debtor, J&J, and each party that timely files the Notice of Estimation Participating Party shall




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   be a Participating Party. Any party in interest other than the TCC, the FCR, the Debtor, and J&J

   that fails to timely file a Notice of Estimation Participating Party within such time period shall be

   barred from submitting evidence in connection with the estimation hearing, provided, however,

   that nothing in the Order granting this Motion shall limit or restrict the rights of any party in interest

   to defend or respond to discovery requests, including, without limitation, defending or objecting

   to the taking of depositions and responding to subpoenas, all of which are expressly reserved.

                   b.      Any party that timely files a Notice of Estimation Participating Party shall

   be deemed to have assented to and shall be bound by the Order Governing Confidential

   Information by and between the Official Committee of Talc Claimants and the Debtor Pursuant to

   D.N.J. LBR 9021-1(B) (Dkt. No. 545) (the “Protective Order”). Each party in interest that files a

   Notice of Estimation Participating Party shall include a statement indicating that such party has

   reviewed the Protective Order and agrees to comply with it in all respects.

                   c.      Within 10 days after entry of the Order granting this Motion, the Debtor and

   J&J shall produce to the other Participating Parties (i) information in their possession sufficient to

   show all amounts paid to settle or otherwise satisfy talc claims and (ii) all information previously

   produced to the Court-Appointed Expert. The Debtor and J&J shall promptly supplement this

   production to the extent that they obtain, receive, or provide any new information responsive to

   Paragraphs (c)(i) and (c)(ii) above.

                   d.      Within 90 days after the entry of the Order granting this Motion, all fact

   discovery, including all fact depositions, shall be completed. No party may serve fact discovery

   on the Court-Appointed Expert.




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                  e.      Within 120 days after the entry of the Order granting this Motion, each

   Participating Party may serve on all other Participating Parties its expert reports, along with all

   documents considered or relied upon by the experts authoring those reports.

                  f.      Within 130 days after the entry of the Order granting this Motion, the Court-

   Appointed Expert shall serve on all other Participating Parties his expert report, along with all

   documents considered or relied upon by the expert(s) authoring that report. This report shall offer

   an opinion as to (i) the aggregate volume and value of all current and future talc claims asserted

   against the Debtor and J&J that will be satisfied by any trust formed pursuant to LTL’s proposed

   plan and (ii) an average claim value to be used to weigh claims for voting purposes to the following

   categories of talc claims: Mesothelioma Claims, Ovarian Claims, Gynecological Cancer Claims,

   Governmental Talc Claims, Canadian Claims, Third Party Payor Talc Claims, and Talc Supplier

   Claims.   The Court-Appointed Expert’s opinion and/or estimates shall have no binding or

   preclusive effect and shall not be used for any purpose other than to weigh the values assigned to

   votes on LTL’s plan.

                  g.      Within 140 days after the entry of the Order granting this Motion, each

   Participating Party may serve on all other Participating Parties its rebuttal expert reports, along

   with all documents considered or relied upon by the experts authoring those reports (to the extent

   not previously produced).

                  h.      Within 160 days after the entry of the Order granting this Motion, all expert

   discovery, including all expert depositions, shall be completed.

                  i.      Within 180 days after the entry of the Order granting this Motion, each

   Participating Party shall file its proposed estimation order, trial brief, motions in limine (if any),

   and motions to preclude expert testimony (if any). No dispositive motions shall be permitted. As




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   part of its trial brief, each Participating Party shall propose an average claim value to be used to

   weigh claims for voting purposes to the following categories of talc claims: Mesothelioma Claims,

   Ovarian Claims, Gynecological Cancer Claims, Governmental Talc Claims, Canadian Claims,

   Third Party Payor Talc Claims, and Talc Supplier Claims. This claim value shall have no binding

   or preclusive effect and shall not be used for any purpose other than to weigh the value assigned

   to votes on LTL’s plan.

                  j.      The estimation hearing will commence on a date to be set by the Court.

                  k.      No party may solicit votes on any plan of reorganization until the Court

   issues its ruling on the weight to be accorded to the categories of talc claims for voting purposes.

          65.     Although the proposed estimation schedule will take some time, albeit subject to

   the aggressive schedule proposed above, estimation is necessary here given the plan proposed by

   LTL. LTL cannot provide adequate disclosure in relation to LTL’s plan until this process is

   complete and claimants can determine whether they are being fairly compensated under LTL’s

   plan. If LTL’s plan is to go forward, delaying this process would only create more delay.

                                                NOTICE

          66.     Notice of this Motion has been served on: (a) the U.S. Trustee; (b) counsel to the

   Debtor and the Debtor’s non-debtor affiliates, Johnson & Johnson Holdco (NA) Inc. and Johnson

   & Johnson; and (c) all persons who have formally appeared in this chapter 11 case and requested

   service pursuant to Bankruptcy Rule 2002. Considering the nature of the relief requested herein,

   the TCC respectfully submits that no other or further notice need be provided.

                                        NO PRIOR REQUEST

          67.     No prior request for the relief sought in this Motion has been made to this or any

   other court in connection with this case.




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                                          CONCLUSION
          68.     WHEREFORE, based on the foregoing, the TCC respectfully requests that the

   Court grant the Motion and grant such other and further relief as the Court deems necessary and

   appropriate.

                                              Respectfully submitted,

                                                    GENOVA BURNS, LLC


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